                                           EXHIBIT E
                                  Auto Club Family Insurance Company
                                                   PO BOX 9023, Coppell, TX 75019


       Insurance

November 2, 2021




LATASHA HILL
8 ANNIE CHRISTIE DR
HATTIESBURG MS 39401

RE: _ Insured                   : Latasha Hill
          Claim Number          : 014843458
          Date of Loss          +08/29/2021
          Type of Loss          : Property

Dear Latasha Hill:

Thank you for your membership and for choosing to insure your property with us. It is not pleasant to
discover damage to one’s property, and | am sincerely sorry this happened.

On October 25, 2021, Independent Adjuster, Chris Wood with Eber! Claims was asked to inspect your
property. His inspection revealed no wind or hail damage to your roof. There were scattered
lifted/unsealed shingles on both slopes, but no mat transfer was noted to the any of the lifted/unsealed
shingles. Vinyl siding on the right elevation is loose due to wind. The interior water damage in the
bedroom/office closet ceiling is caused by water entering at ridge vent over an extended period of time.
There is no coverage for the interior damages without a storm created opening.

The covered damages totaled $179.93 which is below your $6,600.00 deductible. Therefore, your claim
will be closed without payment.

We have summarized the reasons for declining part of your claim in this letter. Please note our actions
were based upon the facts of the claim. The coverage determination was made based upon the
information available. Should you have additional information, please do not hesitate to let us know as
soon as possible; we are always willing to review new information.

Please refer to the policy language of your Premier Homeowners Policy 5103 (7/11), and MS HO3 SPL
PROV CO 01 23 10-16:

“WHAT LOSSES ARE NOT COVERED - EXCLUSIONS — SECTION |

     4.   We do not insure for any loss to property under COVERAGES A,Bor C caused directly or
          indirectly by any of the following exclusions or arising from any of the following exclusions,
          regardless of the cause of the excluded event or damage; other causes of the loss; whether any
          other cause or event acts concurrently or in any sequence with the excluded event to produce
          the loss; whether the loss or event occurs suddenly or gradually, involves isolated or
          widespread damage or occurs asa result of any combination of these; or whether the loss is
          caused by, results from, consists of, involves or is contributed to by natural, human, animal or
          plant forces.

          c.       WATER DAMAGE, meaning loss caused by or consisting of:




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                 (5)      damage to the interior of a building from rain, snow or sleet, unless the wall or
                          roof of the building has first sustained a loss from a cause of loss covered in
                          SECTION |, that created an opening through which the rain, snow or sleet
                          entered; whether caused by or resulting from human, animal, plant or naturally
                          occurring forces, or however caused.

        Direct loss by FIRE, EXPLOSION or THEFT resulting from water damage is covered.

We insure against all risk of physical loss to the property described in Section | Property Coverage,
Coverage A (Dwelling) unless the loss is excluded in Section | Exclusions.

As there was no damage to your home or other structures on your property, your claim will be closed
without payment.

We are relying on the portions of our policy that we have reasonably been able to conclude are
applicable to the facts in this loss. We do not intend to waive, but rather expressly reserve our right to
assert any other policy terms, conditions, exclusions, exceptions or legal defenses to coverage that we
might later learn may be applicable to this loss.

Please feel free to contact me at the number below if you have any questions or need any additional
information.

Sincerely,




Shari Williams
Claims Service Representative
Phone No: (281) 866-6149
Fax No: (972) 630-2762
Email Address: Williams.Shari@aaa-texas.com




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